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Case 1:10-cr-10182-GAO Document 109 Filed 03/26/12 Page 1of 3

To: James B. Krasnoo Esq. FILED ice
Attorney at Law IN OLER KS OFF
28 Andover St, Suite 240 +148
Andover, MA 01810 WR 2b PF
From: Nicholas Occhiuto, Pro-se US COUR
MSA 0053553 Bis tiie | OF MA
PO Box 807
Middleton, MA 01949

Re: USA v Occhiuto
Case No. 10-10182-GAO

Attorney Krasnoo,
I was shocked by the courts decision on March 15, 2012. Not only was I denied a

right to a bail hearing but it was unclear when our next court date is and I’m now concerned
about Justice Dein’s decisions to both one (1) creditglf time towards my federal sentence and two
(2) be granted a prompt bail hearing once I had become pretrial. Those motions I handed you in
court please send them to the district court to have them on the docket file the bail motion
according to 18 USC § 3145 (b) to review detention order and please send them to the appellate
court if possible to appeal the district court’s decision pretrial. Please attach cover letter’s stating
on your own motion explaining the judges reasoning was incorrect as the feds do hold
jurisdiction as I had completed my probation sentence and I was turned over to the custody of the
US Marshal’s June 13, 2011 and brought to Wyatt then brought to FT. Devens, then brought to
Middleton as a federal detainee (my Fed.Reg.No. 92615-038). Also in state court defendants
attorney John V. Apruzzese and ADA Cameilo stated in state court defendant is in fact a federal
inmate as he was indicted by the federal government in federal court then state court therefore
the government stance that defendant has no right to a bail hearing on jurisdictional grounds is
clearly erroneous. Again defendants state indictment is a product of the same investigation

headed by the FBI that led to both defendants federal and state charges. Please note Chief
Case 1:10-cr-10182-GAO Document 109 Filed 03/26/12 Page 2 of 3

Magistrate Judith G. Dein stated that one (1) defendants time would be credited to his sentence
despite the fact he was sentenced on his probation matters (defendant was only surrendered
because federal agents told defendant’s PO he was selling drugs.). Two (2) Justice Dein stated
the issue of bail will be addressed once defendant is pretrial. In US v King, 818 F.2d 112 (1987)
defendant was given prompt bail hearing before he became pretrial from state custody. The
Supreme Court in US v Salerno et al, 107 S.Ct. 2095 (1987) Anthony Salerno was already
sentenced to 100 years when they had the decision to detain without bail which to this day is the
landmark decision to detain for dangerousness in regards to pretrial detention without bail. Also
in US v Molinaro, 876 F.2d 1432,1433 og" Cir. 1989)(detention order reversed where
district court failed to construe “first appearance” requirement literally, even though
defendant was already in custody on other charges.) and US v O’Shaughnessy, 764 F.2d
1035, 1038-39 (5" Cir. 1985) defendants detention orders were reversed where the provisions of
the Bail Reform Act were not strictly followed even though Molinaro was sentenced on state
matters. “ Congress was unwilling to entrust to the magistrates, or the trial courts, or to the
appellate bench, the ability on a judges own motion to manipulate the statute so as to ‘order the
defendant temporarily detained and then to hold the key ‘detention’ hearing at some much later
time.’” US v Angiulo, 755 F.2d 969,972 (1" Cir. 1985).

Attorney Krasnoo it concerns this defendant that you have yet to visit this defendant in
order to prepare our defense, when the Judge asked what motions we planned on filing you could
not answer because you are not familiar with my case and the motions I wish to file. There are
multiple motions I’m putting together to dismiss the indictment and suppress evidence I'd like
your help on. Such as motions to dismiss on the grounds of Governmental overreaching and

artificially created jurisdiction, selective prosecution and malicious prosecution. The motions to
Case 1:10-cr-10182-GAO Document 109 Filed 03/26/12 Page 3 of 3

suppress would be in regards to the wiretaps and testimony of CW-2 and the FBI 302 reports
were written to be misleading and not accurate. We should also file an additional discovery
motion for informants to support our malicious prosecution claim. The government transcripts
Assistant United States Attorney Levitt sent us were not accurate and should be challenged
ASAP. Thank you for your prompt response.

Sincerely,

BECO

Nicholas Occhiuto, Pro-se
Date: 3/18/12

CC: Paul Lyness, Courtroom Clerk
US District Court
US Courthouse
1 Courthouse Way, Suite 2300
Boston, MA 02210
